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      L’ORÉAL USA S/D, INC. and REDKEN 5
  9   AVENUE NYC, LLC
 10                              UNITED STATES DISTRICT COURT
 11                             CENTRAL DISTRICT OF CALIFORNIA
 12
 13   IN RE SUBPOENAS DUCES TECUM                CASE NO. 2:19-mc-00015
      AND TO TESTIFY AT DEPOSITION
 14   TO COSWAY CO.                              Underlying Litigation
                                                 Civil Action No. 17-14-JFB-SRF
 15                                              United States District Court
      LIQWD, INC. and OLAPLEX LLC,               District of Delaware
 16
                         Plaintiffs,             Third-Party Discovery Cutoff:
 17                                              January 25, 2019
             vs.                                 Pretrial Conference: June 4, 2019
 18                                              Trial: July 29, 2019
      L’ORÉAL USA, INC., L’ORÉAL USA
 19   PRODUCTS, INC., L’ORÉAL   USA              [DISCOVERY MATTER]
      S/D, INC. and REDKEN 5TH AVENUE
 20   NYC, LLC,                                  JOINT STIPULATION RE:
                                                 DEFENDANTS’ MOTION TO
 21                      Defendants.             COMPEL NON-PARTY
                                                 COSWAY CO. TO COMPLY
 22                                              WITH SUBPOENA DUCES
                                                 TECUM AND TO TESTIFY AT
 23                                              DEPOSITION
 24                                              Date:
                                                 Time:
 25                                              Dept.:
                                                 Judge:
 26
                                                 [Notice of Motion and Motion;
 27                                              Declaration of Katherine F. Murray;
                                                 and [Proposed] Order Filed and
 28                                              Served Concurrently Herewith]
                                                                    JOINT STIP. RE. DEFS.’
                                                                     MOTION TO COMPEL
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 1    I.     L’ORÉAL USA’S PRELIMINARY STATEMENT
 2           L’Oréal USA, Inc., L’Oréal USA Products, Inc., L’Oréal USA S/D, Inc., and
 3    Redken 5th Avenue NYC, LLC (together, “L’Oréal USA”) respectfully request that
 4    this Court compel third party Cosway Co.’s (“Cosway”) compliance with a
 5    Subpoena to Testify in a Civil Action with request to produce documents (the
 6    “Subpoena”) served on December 3, 2018, in connection with Liqwd, Inc. v.
 7    L’Oréal USA, Inc., Civil Action No. 17-14-JFB-SRF (the “Underlying Action”), a
 8    case currently pending in the United States District Court for the District of
  9   Delaware, which is set for trial on July 29, 2019.
 10          The District of Delaware has already determined that the information sought
 11   in the Subpoena is relevant. (See Declaration of Katherine F. Murray filed
 12   concurrently herewith (“Murray Decl.”), Ex. K at ¶ 6.) But Cosway, despite having
 13   failed to timely object to the Subpoena, has not produced a single document
 14   pursuant to the requests in the Subpoena, nor has it agreed to produce a Rule
 15   30(b)(6) witness for any of the topics identified therein. As Cosway is located in
 16   Carson, California, pursuant to Federal Rule of Civil Procedure (“Rule”) 45,
 17   L’Oréal USA respectfully requests that this Court compel Cosway’s compliance
 18   with the Subpoena. Fed. R. Civ. P. 45(d)(B)(2)(i). Alternatively, if this Court is so
 19   inclined, L’Oréal USA requests that this matter be immediately transferred to the
 20   District of Delaware for prompt resolution. Fed. R. Civ. P. 45(f); infra Section III.
 21          The information L’Oréal USA seeks is plainly relevant to its defenses in the
 22   Underlying Action. Liqwd, Inc. and Olaplex LLC (together, “Olaplex”) initiated
 23   the Underlying Action on January 5, 2017, and have asserted, among other things,
 24   causes of action for infringement of U.S. Patent Nos. 9,498,419 (“the ’419 patent”)
 25   and 9,668,954 (“the ’954 patent”) (together, the “Asserted Patents”). (Murray
 26   Decl., Ex. K, ¶ 1.) The Asserted Patents are directed to methods of bleaching hair.
 27   (Id.) Olaplex alleges that three L’Oréal USA products infringe certain claims of the
 28   Asserted Patents, and seeks a permanent injunction enjoining their sale. At the
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  1   same time, Olaplex maintains that its own hair products that are also used during
  2   bleaching (the “Olaplex Products”)1 are not covered by the Asserted Patents.
  3   L’Oréal USA served discovery on Olaplex seeking its basis for this assertion, as
  4   this information bears directly on L’Oréal USA’s invalidity and non-infringement
  5   defenses. But Olaplex has taken the position that it does not know the composition
  6   of its products, as the they are made by third parties. One of those third parties is
  7   Cosway. During recent depositions, Dean Christal, founder of Olaplex LLC,
  8   testified that Cosway bottles the Olaplex Products, and that the formulas for the
  9   Olaplex No. 2 and No. 3 products were created at Cosway. (Murray Decl., Ex. A at
 10   14:21-15:17.) Similarly, Eric Pressly, one of the inventors of both the Olaplex
 11   Products and the Asserted Patents, testified that the Olaplex No. 2 and No. 3
 12   products are formulated at Cosway, and that Cosway is responsible for confirming
 13   that the Olaplex Products meet specifications. (Id., Ex. B at 65:4-12, 109:1-6. See
 14   also id., Ex. C at 12 (Olaplex stating it “is without knowledge of the specific
 15   methods of mixing and bottling used by Cosway since launch to create the final
 16   composition in [Olaplex No. 1]”).)
 17          On December 3, 2018, L’Oréal USA served Cosway with a Subpoena
 18   seeking information regarding the work it performs for Olaplex and the
 19   composition of the Olaplex Products. (Id., Ex. D.) The Subpoena set Cosway’s
 20   deposition and document production deadline for December 20, 2018, at 10:00 a.m.
 21          Cosway did not properly object or otherwise respond to the Subpoena. As a
 22   result, on December 19, 2018, L’Oréal USA informed Olaplex’s counsel that
 23   L’Oréal USA planned to proceed with Cosway’s deposition the following day.
 24   (Murray Decl., E.) Then, a mere 22 minutes before it was scheduled to appear for
 25   deposition, Cosway’s counsel emailed blanket, boilerplate objections to the
 26
      1
 27
        The Olaplex Products are: Olaplex Bond Multiplier No. 1 (“Olaplex No. 1”),
      Olaplex Bond Perfector No. 2 (“Olaplex No. 2”), and Olaplex Hair Perfector No. 3
 28   (“Olaplex No. 3”).
                                                                       JOINT STIP. RE. DEFS.’
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  1   Subpoena. (Murray Decl., Ex. F.) Cosway did not produce a witness for the
  2   deposition, nor did it produce any documents. On December 20, 2018, L’Oréal
  3   USA recorded Cosway’s non-appearance when it failed to produce a witness for
  4   deposition. (Id., Ex. G.)
  5          L’Oréal USA has been, and will continue to be, prejudiced by Cosway’s
  6   failure to comply with the Subpoena. On January 4, 2019, L’Oréal USA moved to
  7   modify the case schedule in the Underlying Action to extend the deadline to
  8   complete third-party discovery, so that L’Oréal USA would have sufficient time to
  9   incorporate evidence obtained by third parties in its expert reports, which were
 10   originally due January 11, 2019. (Murray Decl., Ex. H.) In its request to the Court,
 11   L’Oréal USA explained that, among other things, it required information from third
 12   parties regarding the manufacture and composition of the Olaplex Products. (Id.,
 13   Ex. I at 2.) Olaplex did not dispute the relevance of the discovery L’Oréal USA
 14   sought from Olaplex’s manufacturers, thereby conceding it. (Id., Ex. J.)
 15          On January 14, 2019, the District of Delaware agreed to a slight modification
 16   of the schedule so that the parties could complete third-party discovery. In its
 17   Order, the Court extended the third-party discovery deadline to January 25, 2019,
 18   and indicated that the discovery sought by L’Oréal USA was “relevant to its
 19   invalidity positions.” (Murray Decl., Ex. K, ¶ 6.) The discovery is also relevant to
 20   other claims and defenses in the Underlying Action, including the scope of the
 21   Asserted Patents and infringement.
 22          For the foregoing reasons, L’Oréal USA requests that this Court issue an
 23   order compelling Cosway’s compliance with the Subpoena prior to the January 25,
 24   2019 deadline, or as soon as possible, and award L’Oréal USA all costs and fees
 25   associated with bringing this Motion, especially given Cosway’s utter disregard of
 26   the Subpoena and the Federal Rules. Fed. R. Civ. P. 37(a)(5)(A). L’Oréal USA
 27   has continued to make diligent attempts to meet and confer with Cosway regarding
 28   these matters, but Cosway has refused to even respond. (See, e.g., id., Ex. M.)
                                                                      JOINT STIP. RE. DEFS.’
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  1   II.    COSWAY’S PRELIMINARY STATEMENT
  2          Cosway is not a party to the litigation pending in the U.S. District Court for
  3   Delaware between L’Oreal and Olaplex. L’Oreal served a deposition subpoena
  4   including sweeping document production requests on Cosway just seventeen days
  5   prior to the noticed December 20, 2018 deposition date and in the midst of the
  6   holiday season. L’Oreal did not consult Cosway, or its counsel regarding their
  7   availability to attend such a deposition, or Cosway’s ability to comply with
  8   L’Oreal’s extensive document production requests on such short notice.
  9          Cosway has obtained a copy of the U.S. District Court for the District of
 10   Delaware’s Order regarding L’Oreal’s discovery activities and request for an
 11   extension. [Case 1:17-cv-00014-JFB-SRF Doc. 610] That Order reveals that
 12   L’Oreal scheduled Cosway’s deposition and substantial document production to
 13   occur just one day prior to the court-ordered cut-off for third party discovery,
 14   December 21, 2018.
 15          L’Oreal attempted to force the consequences of its own delays in completing
 16   third party discovery on Cosway in the form of an absurdly short deadline to
 17   comply with onerous document requests and an utter disregard for the expense and
 18   disruption that L’Oreal’s eleventh-hour scramble to complete discovery would
 19   impose on Cosway. Moreover, the District Court’s scheduling order in the
 20   underlying action further reveals that third-party discovery closed on January 25,
 21   2019. Although L’Oreal is no longer authorized to conduct third party discovery in
 22   the underlying action, it seeks to burden Cosway and this Court with this dispute.
 23   III.   L’ORÉAL USA’S REQUEST TO TRANSFER
 24          If this Court is not inclined to rule on L’Oréal USA’s Motion, then L’Oréal

 25   USA requests that this Court transfer this matter to the District of Delaware. Under

 26   Rule 45(f), the Court “may transfer a motion under this rule to the issuing court . . .

 27   if the court finds exceptional circumstances.” When, as here, “the issuing court has

 28   already ruled on issues presented by a subpoena-related motion, exceptional
                                                                       JOINT STIP. RE. DEFS.’
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  1   circumstances exist[,]” especially given the schedule in the Underlying Action.
  2   Moon Mountain Farms, LLC v. Rural Cmty. Ins. Co., 301 F.R.D. 426, 429 (N.D.
  3   Cal. 2014). (See Murray Decl., Ex. K, ¶ 6 (holding that the information sought by
  4   L’Oréal USA is “relevant”).) See also 3B Med., Inc. v. Resmed Corp., No. 16-CV-
  5   2050-AJB-JMA, 2016 WL 6818953, at *3 (S.D. Cal. Oct. 11, 2016) (holding that a
  6   fast-approaching discovery deadline, coupled with the fact that the issuing court
  7   “has already ruled on discovery-related motions in this matter, including motions of
  8   third-party subpoenas[,]” create exceptional circumstances warranting a transfer);
  9   Fed. R. Civ. P. 45(f) advisory committee’s note (transfer is warranted “in order to
 10   avoid disrupting the issuing court’s management of the underlying litigation . . . .”).
 11   IV.    COSWAY’S OBJECTION TO TO TRANSFER
 12          The third-party discovery cut-off is not fast approaching in the underlying
 13   action; it has passed. Accordingly, the authorities cited by L’Oreal do not support
 14   transfer here where L’Oreal is solely responsible for its own failure to pursue third-
 15   party discovery in sufficient time to avail itself of this District’s discovery dispute
 16   resolution procedures prior before the discovery cut-off.
 17          Further, in addition to its eleventh-hour attempt to burden Cosway with an
 18   onerous deposition subpoena for the production of documents and for testimony,
 19   L’Oreal now seeks to burden Cosway with responding in a Court more than two
 20   thousand miles from its offices in Carson California at a time when L’Oreal’s right
 21   to conduct third-party discovery has already expired by operation of that Court’
 22   scheduling order. Cosway objects to such a transfer.
 23   V.     L’ORÉAL USA’S POSITION AS TO THE ISSUES IN DISPUTE
 24          As a threshold matter, L’Oréal USA is entitled to all of the information it

 25   seeks, as Cosway never properly objected to the Subpoena, and thus waived all

 26   objections thereto. See McCoy v. Sw. Airlines Co., 211 F.R.D. 381, 385 (C.D. Cal.

 27   2002) (“Failure to serve timely objections waives all grounds for objection,

 28   including privilege . . . .”) (citing In re DG Acquisition Corp., 151 F.3d 75, 81 (2d
                                                                        JOINT STIP. RE. DEFS.’
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  1   Cir.1998)); Creative Gifts, Inc. v. UFO, 183 F.R.D. 568, 570 (D.N.M. 1998) (same)
  2   (citing Wang v. Hsu, 919 F.2d 130 (10th Cir. 1990)); Poturich v. Allstate Ins. Co.,
  3   No. EDCV150081GWKKX, 2015 WL 12766048, at *2 (C.D. Cal. Aug. 11, 2015)
  4   (ordering non-party, who failed to timely object to defendant’s subpoena, to
  5   produce all documents responsive thereto “without objections”); A.M.J. v. Cty. of
  6   Los Angeles, No. EDCV151346-VAP-SPX, 2016 WL 11185268, at *2 (C.D. Cal.
  7   Apr. 12, 2016) (granting motion to compel and holding that, “as County failed to
  8   timely serve objection to plaintiffs’ subpoena, County has waived all grounds for
  9   objection, including privilege”).
 10          Cosway emailed objections to the Subpoena more than 14 days after it was
 11   served with the same. (Murray Decl., Exs. D, F.) This response was both untimely,
 12   see Fed. R. Civ. P. 42(d)(2)(B) (objections must be served 14 days after service of
 13   subpoena) and improper, as L’Oréal USA had not previously agreed to service by
 14   email. See Fed. R. Civ. P. 5(b)(2)(E) (requiring that parties consent to service by
 15   email).
 16          But even if Cosway had properly objected to the Subpoena, L’Oréal USA
 17   still would be entitled to the documents and testimony sought therein. The court
 18   overseeing the Underlying Action confirmed as much. (See Murray Decl., Ex. K, ¶
 19   6.) As explained further below, the information L’Oréal USA seeks bears directly
 20   on, at least, the invalidity and non-infringement defenses it has asserted in the
 21   Underlying Action, and, as such, should be produced. See Fed. R. Civ. P. 26
 22   (“Parties may obtain discovery regarding any nonprivileged matter that is relevant
 23   to any party’s claim or defense . . . .”); Thomas-Byass v. Michael Kors Stores
 24   (California), Inc., No. CV1500369-JGB-KKX, 2015 WL 5568609, at *2 (C.D. Cal.
 25   Sept. 22, 2015) (“Relevancy should be ‘construed liberally and with common sense
 26   and discovery should be allowed unless the information sought has no conceivable
 27   bearing on the case.’”) (quoting Soto v. City of Concord, 162 F.R.D. 603, 610 (N.D.
 28   Cal. 1995)).
                                                                       JOINT STIP. RE. DEFS.’
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  1          Moreover, as noted above, L’Oréal USA reached out to Cosway multiple
  2   times to meet and confer regarding the Subpoena, in an effort to resolve these
  3   matters without having to resort to motion practice, but Cosway never responded.
  4   (See Murray Decl., Ex. M.) For this reason and for the reasons explained below,
  5   this Court should compel Cosway’s compliance with the Subpoena.
  6          A.      Cosway Should Produce Documents and Provide Testimony
                     Regarding the Composition of the Olaplex Products and Its
  7                  Communications Regarding the Same.
  8          Cosway should be compelled to comply with Topic No. 1 and Request for
  9   Production No. 1, both of which seek information pertaining to its communications
 10   with Olaplex and third parties regarding the Olaplex Products:
 11                  TOPIC NO. 1:
 12                  Your Communications with Plaintiffs or any other Person,
                     including Gelest, Inc., Concerning the Olaplex Products.
 13
                     OBJECTIONS TO TOPIC NO. 1:
 14
                     Cosway objects to this Topic to the extent that it seeks
 15                  information that is not relevant to any party’s claim or
                     defense and not proportional to the needs of the case.
 16                  Cosway further objects to this Topic to the extent that it
                     seeks Cosway’s information protected by the attorney-
 17                  client privilege and/or attorney work product doctrine.
                     Cosway further objects to this Topic to the extent that it
 18                  seeks information pertaining to individuals, the disclosure
                     of which would constitute an unwarranted invasion of the
 19                  affected individuals’ constitutional, statutory and/or
                     common law rights to personal privacy and
 20                  confidentiality. Cosway further objects to this Topic on
                     the grounds that it seeks Cosway’s confidential
 21                  commercial, financial, and/or proprietary business
                     information. Cosway objects to this Topic as overbroad as
 22                  to scope and time, unduly burdensome, irrelevant, and not
                     proportional to the needs of this case including through its
 23                  call for all “Communications with Plaintiffs or any other
                     person…concerning Olaplex Products,” which is
 24                  completely unfettered from time or scope and could
                     require someone to speak to hundreds of thousands of
 25                  communications over many years.
 26                  REQUEST FOR PRODUCTION NO. 1:
 27                  All Communications with Plaintiffs or any other Person,
                     including Gelest, Inc., Concerning the Olaplex Products.
 28
                                                                        JOINT STIP. RE. DEFS.’
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  1                   RESPONSE TO REQUEST FOR PRODUCTION NO. 1:
  2                   Cosway objects to this Request to the extent that it seeks
                      information that is not relevant to any party’s claim or
  3                   defense and not proportional to the needs of the case.
                      Cosway further objects to this Request to the extent that it
  4                   seeks Cosway’s information protected by the attorney-
                      client privilege and/or attorney work product doctrine.
  5                   Cosway further objects to this Request to the extent that it
                      seeks information pertaining to individuals, the disclosure
  6                   of which would constitute an unwarranted invasion of the
                      affected individuals’ constitutional, statutory and/or
  7                   common law rights to personal privacy and
                      confidentiality. Cosway further objects to this Request on
  8                   the grounds that it seeks Cosway’s confidential
                      commercial, financial, and/or proprietary business
   9                  information. Cosway objects to this Request as overbroad
                      as to scope and time, unduly burdensome, irrelevant, and
  10                  not proportional to the needs of this case including
                      through its call for all “Communications with Plaintiffs or
  11                  any other person…Concerning the Olaplex Products,”
                      which is completely unfettered from time or scope.
  12
              Cosway’s responses to both requests will bear on L’Oréal USA’s defenses.
  13
       For instance, Cosway’s communications with Gelest, Inc., a manufacturer of some
  14
       of the ingredients of the Olaplex products, would elucidate the creation and
  15
       composition of the Olaplex Products. (See Murray Decl., Ex. B at 62:25-63:3; (co-
  16
       inventor Eric Pressly testifying that Gelest makes the active ingredients that are
  17
       used in the Olaplex Products).) The ingredients and composition of the Olaplex
  18
       Products, whether they have changed over time, how they have changed over time,
  19
       and the persons privy to this information, are all relevant to issues of invalidity,
  20
       including prior use. See, e.g., Charles Jacquin Et Cie Inc. v. Destileria Serralles,
  21
       Inc., Crown Mktg. Int’l, Howrene Wine & Spirit Inc., No. CIV. 88-3040, 1989 WL
  22
       63184, at *3 (E.D. Pa. June 7, 1989) (“Evidence of prior use by a third party might
  23
       be directly relevant to specific defenses.”). They are also relevant to the scope of
  24
       the Asserted Patents and infringement.
  25
              Cosway’s boilerplate objections to either request, which should be ignored,
  26
       as they were not timely or properly served on L’Oréal USA, are, in any event,
  27
       baseless. The information sought by these requests is plainly relevant. Moreover,
  28
                                                                         JOINT STIP. RE. DEFS.’
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  1    Cosway’s overly broad objection is untenable, as these requests do not seek
  2    privileged information, but only information related to the Olaplex Products, which
  3    Olaplex has already testified would be in Cosway’s possession. (See Murray Decl.,
  4    Ex. A at 14:21-15:17, Ex. B at 65:4-12, 109:1-6, Ex. C at 12.) To the extent
  5    Cosway objects on confidentiality grounds, these concerns are mooted by the
  6    Stipulated Protective Order governing the Underlying Action. (Underlying Action,
  7    D.I. 54, ¶¶ 2, 9 (“Protected Material disclosed by . . . a third party . . . pursuant to
  8    discovery in this action, . . . shall be used solely for purposes of this action and not
   9   for any other purpose . . . .”).)
  10          Cosway also should be compelled to produce documents and provide
  11   testimony responsive to Topic No. 2 and Request for Production No. 2, which seek
  12   information “[c]oncerning any mixing, creation, manufacture, packaging, and use
  13   of the Olaplex Products by [Cosway] or anyone on [its] behalf, and the ingredients,
  14   composition, chemicals, and formulas that [it] ha[s] created, received, or used
  15   Concerning the Olaplex Products,” and Topic No. 5 and Request for Production
  16   No. 5, which seek the identity of persons to who Cosway distributed the Olaplex
  17   Products. As explained above, this information is, for example, plainly relevant to
  18   L’Oréal USA’s invalidity defense, as it bears on prior use of the Olaplex Products.
  19   Cosway’s untimely and boilerplate objections to these requests should be overruled:
  20                  TOPIC NO. 2:
  21                  The Olaplex Products, including any mixing, creation,
                      manufacture, packaging, and use of the Olaplex Products
  22                  by You or anyone on Your behalf, and the ingredients,
                      composition, chemicals, and formulations Concerning the
  23                  Olaplex Products, including formulas that You have
                      created, received, or used Concerning the Olaplex
  24                  Products.
  25                  OBJECTIONS TO TOPIC NO. 2:
  26                  Cosway objects to this Topic to the extent that it seeks
                      information that is not relevant to any party’s claim or
  27                  defense and not proportional to the needs of the case.
                      Cosway further objects to this Topic to the extent that it
  28                  seeks information protected by the attorney-client
                                                                          JOINT STIP. RE. DEFS.’
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  1                   privilege and/or attorney work product doctrine. Cosway
                      further objects to this Topic to the extent that it seeks
  2                   information pertaining to individuals, the disclosure of
                      which would constitute an unwarranted invasion of the
  3                   affected individuals’ constitutional, statutory and/or
                      common law rights to personal privacy and
  4                   confidentiality. Cosway further objects to this Topic on
                      the grounds that it seeks Cosway’s confidential
  5                   commercial, financial, and/or proprietary business
                      information. Cosway objects to this Topic as overbroad as
  6                   to scope and time, unduly burdensome, irrelevant, and not
                      proportional to the needs of this.
  7
                      REQUEST FOR PRODUCTION NO. 2:
  8
                      All Documents, Communications, and Things Concerning
   9                  the Olaplex Products, including all Documents,
                      Communications, and Things Concerning any mixing,
  10                  creation, manufacture, packaging, and use of the Olaplex
                      Products by You or anyone on Your behalf, and the
  11                  ingredients, composition, chemicals, and formulations
                      Concerning the Olaplex Products, including formulas that
  12                  You have created, received, or used Concerning the
                      Olaplex Products.
  13
                      RESPONSE TO REQUEST FOR PRODUCTION NO. 2:
  14
                      Cosway objects to this Request to the extent that it seeks
  15                  information that is not relevant to any party’s claim or
                      defense and not proportional to the needs of the case.
  16                  Cosway further objects to this Request to the extent that it
                      seeks Cosway’s information protected by the attorney-
  17                  client privilege and/or attorney work product doctrine.
                      Cosway further objects to this Request to the extent that it
  18                  seeks information pertaining to individuals, the disclosure
                      of which would constitute an unwarranted invasion of the
  19                  affected individuals’ constitutional, statutory and/or
                      common law rights to personal privacy and
  20                  confidentiality. Cosway further objects to this Request on
                      the grounds that it seeks Cosway’s confidential
  21                  commercial, financial, and/or proprietary business
                      information. Cosway objects to this Request as overbroad
  22                  as to scope and time, unduly burdensome, irrelevant, and
                      not proportional to the needs of this case including
  23                  through its call for all “Documents, Communications, and
                      Things Concerning the Olaplex Products,” which is
  24                  completely unfettered from time or scope and will
                      unreasonably burden non-party Cosway Company Inc.
  25
                      TOPIC NO. 5:
  26
                      Shipping. Delivery, or other distribution of any Olaplex
  27                  Products by You, or on Your behalf, to any Person(s),
                      including the identity of such Person(s), the reasons for
  28                  such shipping, delivery, or other distribution, and any
                                                                         JOINT STIP. RE. DEFS.’
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  1                   invoices provided to, and payments received from, any
                      Person(s) Concerning such shipping, delivery, or other
  2                   distribution of such Olaplex Products.
  3                   OBJECTIONS TO TOPIC NO. 5:
  4                   Cosway objects to this Topic to the extent that it seeks
                      information that is not relevant to any party’s claim or
  5                   defense and not proportional to the needs of the case.
                      Cosway further objects to this Topic to the extent that it
  6                   seeks information protected by the attorney-client
                      privilege and/or attorney work product doctrine. Cosway
  7                   further objects to this Topic to the extent that it seeks
                      information pertaining to individuals, the disclosure of
  8                   which would constitute an unwarranted invasion of the
                      affected individuals’ constitutional, statutory and/or
   9                  common law rights to personal privacy and
                      confidentiality. Cosway further objects to this Topic on
  10                  the grounds that it seeks Cosway’s confidential
                      commercial, financial, and/or proprietary business
  11                  information. Cosway objects to this Topic as overbroad as
                      to scope and time, unduly burdensome, irrelevant, and not
  12                  proportional to the needs of this case.
  13                  REQUEST FOR PRODUCTION NO. 5:
  14                  All Documents, Communications, and Things Concerning
                      any shipping, delivery, or other distribution of any
  15                  Olaplex Products by You, or on Your behalf, to any
                      Person(s) including Documents, Communications, and
  16                  Things that identify such Person(s), and any invoices
                      provided to, and payments received from, any Person(s)
  17                  Concerning such shipping, delivery, or other distribution
                      of such Olaplex Products.
  18
                      RESPONSE TO REQUEST FOR PRODUCTION NO. 5:
  19
                      Cosway objects to this Request to the extent that it seeks
  20                  information that is not relevant to any party’s claim or
                      defense and not proportional to the needs of the case.
  21                  Cosway further objects to this Request to the extent that it
                      seeks Cosway’s information protected by the attorney-
  22                  client privilege and/or attorney work product doctrine.
                      Cosway further objects to this Request to the extent that it
  23                  seeks information pertaining to individuals, the disclosure
                      of which would constitute an unwarranted invasion of the
  24                  affected individuals’ constitutional, statutory and/or
                      common law rights to personal privacy and
  25                  confidentiality. Cosway further objects to this Request on
                      the grounds that it seeks Cosway’s confidential
  26                  commercial, financial, and/or proprietary business
                      information. Cosway objects to this Request as overbroad
  27                  as to scope and time, unduly burdensome, irrelevant, and
                      not proportional to the needs of this case.
  28
                                                                         JOINT STIP. RE. DEFS.’
                                                 -11-                     MOTION TO COMPEL
                                                                  COMPLIANCE WITH SUPBOENA
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  1           B.      Cosway Should Produce Documents and Testimony Regarding
                      Invoices and Payments Relating to the Olaplex Products.
  2
              Cosway should be compelled to comply with Topic Nos. 3 and 4, and
  3
       Request for Production Nos. 3 and 4, which seek information relating to invoices
  4
       and payments regarding the Olaplex Products:
  5
                      TOPIC NO. 3:
  6
                      Invoices that You have issued to Plaintiffs, and payments
  7                   that You have received from Plaintiffs’ behalf,
                      Concerning the Olaplex Products.
  8
                      OBJECTIONS TO TOPIC NO. 3:
   9
                      Cosway objects to this Topic to the extent that it seeks
  10                  information that is not relevant to any party’s claim or
                      defense and not proportional to the needs of the case.
  11                  Cosway further objects to this Topic to the extent that it
                      seeks information protected by the attorney-client
  12                  privilege and/or attorney work product doctrine. Cosway
                      further objects to this Topic to the extent that it seeks
  13                  information pertaining to individuals, the disclosure of
                      which would constitute an unwarranted invasion of the
  14                  affected individuals’ constitutional, statutory and/or
                      common law rights to personal privacy and
  15                  confidentiality. Cosway further objects to this Topic on
                      the grounds that it seeks Cosway’s confidential
  16                  commercial, financial, and/or proprietary business
                      information. Cosway objects to this Topic as overbroad as
  17                  to scope and time, unduly burdensome, irrelevant, and not
                      proportional to the needs of this case including through its
  18                  call for all invoices and payments concerning Olaplex,
                      which is completely unfettered from time.
  19
                      TOPIC NO. 4:
  20
                      Invoices that You have issued to any Person other than
  21                  Plaintiffs, and payments that You have received from
                      such Person(s), Concerning the Olaplex Products.
  22
                      OBJECTIONS TO TOPIC NO. 4:
  23
                      Cosway objects to this Topic to the extent that it seeks
  24                  information that is not relevant to any party’s claim or
                      defense and not proportional to the needs of the case.
  25                  Cosway further objects to this Topic to the extent that it
                      seeks information protected by the attorney-client
  26                  privilege and/or attorney work product doctrine. Cosway
                      further objects to this Topic to the extent that it seeks
  27                  information pertaining to individuals, the disclosure of
                      which would constitute an unwarranted invasion of the
  28                  affected individuals’ constitutional, statutory and/or
                                                                         JOINT STIP. RE. DEFS.’
                                                 -12-                     MOTION TO COMPEL
                                                                  COMPLIANCE WITH SUPBOENA
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  1                   common law rights to personal privacy and
                      confidentiality. Cosway further objects to this Topic on
  2                   the grounds that it seeks Cosway’s confidential
                      commercial, financial, and/or proprietary business
  3                   information. Cosway objects to this Topic as overbroad as
                      to scope and time, unduly burdensome, irrelevant, and not
  4                   proportional to the needs of this case.
  5                   REQUEST FOR PRODUCTION NO. 3:
  6                   All invoices that You have issued to Plaintiffs, and
                      payments that You have received from Plaintiffs or
  7                   anyone on Plaintiffs’ behalf, Concerning the Olaplex
                      Products.
  8
                      RESPONSE TO REQUEST FOR PRODUCTION NO. 3:
   9
                      Cosway objects to this Request to the extent that it seeks
  10                  information that is not relevant to any party’s claim or
                      defense and not proportional to the needs of the case.
  11                  Cosway further objects to this Request to the extent that it
                      seeks Cosway’s information protected by the attorney-
  12                  client privilege and/or attorney work product doctrine.
                      Cosway further objects to this Request to the extent that it
  13                  seeks information pertaining to individuals, the disclosure
                      of which would constitute an unwarranted invasion of the
  14                  affected individuals’ constitutional, statutory and/or
                      common law rights to personal privacy and
  15                  confidentiality. Cosway further objects to this Request on
                      the grounds that it seeks Cosway’s confidential
  16                  commercial, financial, and/or proprietary business
                      information. Cosway objects to this Request as overbroad
  17                  as to scope and time, unduly burdensome, irrelevant, and
                      not proportional to the needs of this case.
  18
                      REQUEST FOR PRODUCTION NO. 4:
  19
                      All invoices that You have issued to any Person other
  20                  than Plaintiffs, and payments that You have received from
                      such Person(s), Concerning the Olaplex Products.
  21
                      RESPONSE TO REQUEST FOR PRODUCTION NO. 4:
  22
                      Cosway objects to this Request to the extent that it seeks
  23                  information that is not relevant to any party’s claim or
                      defense and not proportional to the needs of the case.
  24                  Cosway further objects to this Request to the extent that it
                      seeks Cosway’s information protected by the attorney-
  25                  client privilege and/or attorney work product doctrine.
                      Cosway further objects to this Request to the extent that it
  26                  seeks information pertaining to individuals, the disclosure
                      of which would constitute an unwarranted invasion of the
  27                  affected individuals’ constitutional, statutory and/or
                      common law rights to personal privacy and
  28                  confidentiality. Cosway further objects to this Request on
                                                                         JOINT STIP. RE. DEFS.’
                                                 -13-                     MOTION TO COMPEL
                                                                  COMPLIANCE WITH SUPBOENA
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  1                   the grounds that it seeks Cosway’s confidential
                      commercial, financial, and/or proprietary business
  2                   information. Cosway objects to this Request as overbroad
                      as to scope and time, unduly burdensome, irrelevant, and
  3                   not proportional to the needs of this case.
  4           The invoices at issue would identify the ingredients of the Olaplex Products
  5    from the first instance that Cosway began working with Olaplex. But, beyond that,
  6    they would also illuminate the nature of work Cosway performed for Olaplex. This
  7    would help explain the extent of Cosway’s involvement with respect to the
  8    formulation of the Olaplex Products. Again, all of this information is relevant to
   9   invalidity, including prior use, and scope of the Asserted Patents and infringement.
  10          Cosway asserts inapplicable boilerplate objections to these requests, which
  11   should be overruled. See Brill v. Napolitano, No. CV 09-0421-PSG(RCX), 2010
  12   WL 11512400, at *2 (C.D. Cal. May 12, 2010) (overruling “unexplained and
  13   unsupported boilerplate objections” to discovery requests as “improper”); A. Farber
  14   & Partners, Inc. v. Garber, 234 F.R.D. 186, 188 (C.D. Cal. 2006) (“[G]eneral or
  15   boilerplate objections such as ‘overly burdensome and harassing’ are improper—
  16   especially when a party fails to submit any evidentiary declarations supporting such
  17   objections.”). The information sought is plainly relevant, and the documents and
  18   testimony requested are narrowly tailored. Moreover, Cosway’s confidentiality
  19   concerns are mooted by the Stipulated Protective Order governing the Underlying
  20   Action.
  21   VI.    COSWAY’S POSITION AS TO THE ISSUES IN DISPUTE
  22          A.      The Court May Consider Cosway’s Objections
  23          Courts may excuse untimely objections in certain circumstances. This
  24   includes circumstances where the subpoena is overbroad on its face, imposes a
  25   significant burden on a non-party witness, or sets a return date that does not allow
  26   for sufficient time for compliance. (See Semtek Intern., Inc. v. Merkuriy Ltd., No.
  27   3607, 1996 WL 238538, at *2 (N.D.N.Y. May 1, 1996).)
  28
                                                                       JOINT STIP. RE. DEFS.’
                                               -14-                     MOTION TO COMPEL
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  1           Here, L’Oreal set a deposition subpoena including a sweeping document
  2    production request on seventeen days’ notice, without consulting Cosway or its
  3    counsel regarding their availability on the noticed date, and with utter disregard for
  4    the burden the subpoena would impose on Cosway. Cosway submits that the Court
  5    will be well within its authority to consider Cosway’s objections despite the three-
  6    day delay in timely serving the objections which L’Oreal concedes it received.
  7           B.      L’Oreal Has Not Demonstrated That the Requested Documents
                      Are Sufficiently Relevant to Justify the Burden to Cosway.
  8
              L’Oreal’s Document Request No. 3 demands that Cosway produce all of the
   9
       invoices it has issued to Olaplex and payments received from Olaplex. Document
  10
       Request No. 4 seeks production of invoices Cosway issued to others and payments
  11
       received from such persons. L’Oreal asserts that “[t]he invoices at issue would
  12
       identify the ingredients of the Olaplex Products from the first instance that Cosway
  13
       began working with Olaplex. But L’Oreal offers no evidence or explanation for
  14
       this bare assertion.
  15
              C.      The Court Should Shift the Cost of Compliance to L’Oreal.
  16
              In those circumstances where the court may quash or modify a subpoena, the
  17
       court can instead shift the cost of compliance to the issuing party (FRCP
  18
       45(d)(3)(C)). In deciding whether to shift the cost of compliance to the party
  19
       seeking discovery, courts typically consider the non-party’s interest in the outcome
  20
       of the case, the non-party’s ability to bear the costs (as compared to the requesting
  21
       party’s) and whether the litigation is of public importance. (See Miller v. Allstate
  22
       Fire & Cas. Ins. Co., No. 07-cv-0260, 2009 WL 700142, at, at *5.)
  23
              Although Cosway has not moved to quash the subpoena in issue here, it
  24
       respectfully requests that the Court shift the cost of compliance with the subpoena
  25
       to L’Oreal. Cosway is a has no stake in this litigation and is a California based
  26
       manufacturer. L’Oreal, on the other hand, is a subsidiary of L’Oreal, S.A., a
  27
       worldwide enterprise with resources that dwarf those of Cosway. Under these
  28
                                                                       JOINT STIP. RE. DEFS.’
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      1
           circumstances, andifthe Court compels Cosway's compliance withthe disputed
   2       subpoena, Cosway respectfully submits that L'Oreal should bear the costs of
   3
           Cosway'sexpenseofcompliance inviewL'Oreal'svastresources incomparison
   4
           with Cosway, andCosway's status as a bystanderto this dispute.
   5

   6       DATED: January _, 2019                      PAUL HASTINGS LLP
   7                                                   By:               /s/
   8                                                              Katherine F. Murray
   9                                                   Attorneys for Defendants
                                                       L'OREAL USA, INC., L'QREAL USA
  10
                                                       PRODUCTS, INC., L'OREAL USA
  11                                                   S/D, INC. and REDKEN 5TH AVENUE
                                                       NYC, LLC
  12
          DATED: January^2019
  13                        n                          KRIE(
                                                       CORPO
                                                                                   LAW

  14
                                                       By:_
  15
                                                                  Lawrence R. Cagney
  16
                                                       Attorneys for Cosway Co.
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                                                                          JOINT STIP. RE. DBFS.'
                                                -16-                       MOTION TO COMPEL
          Case No.:                                               COMPLIANCE WITH SUPBOENA
